Petition filed under sec. 111.10 (6), Stats. 1937, in the circuit court by the International Union of Life Insurance Agents, Locals Nos. 1, 2, and 3, for the modification of an order made by the Wisconsin Labor Relations Board in a proceeding upon a complaint against the Prudential Insurance Company of America, which was issued by the board under sec. 111.10 (2), Stats. 1937, pursuant to charges filed by the union.  The Insurance Company filed an answer to the board's complaint.  After a hearing the board made findings of fact and conclusions of law upon which it ordered that the company cease and desist from refusing to bargain collectively with the union as the exclusive representative of all insurance agents employed by the company in Milwaukee, Racine, and Kenosha, and that it bargain collectively with the union as such representative, and to that end take certain affirmative action and notify the board what steps it had taken to comply therewith; and the board also ordered the dismissal of allegations charging the company with espionage and discrimination constituting unfair labor practices.  Upon a trial pursuant to the union's petition, the court filed a decision in which it overruled the company's contention that the board's order could not be enforced because of the repeal of ch. 111, Stats. 1937, by the enactment of ch. 57, Laws of 1939, which had become effective on May 4, 1939; and the court ordered that the *Page 474 
union's petition for a modification of the board's order be denied but that its findings and order be confirmed and the judgment be entered enforcing the order.  Judgment was entered accordingly, but with an additional provision ordering the company to notify the clerk of the court what steps it had taken to comply with the board's order.  The company appealed from the judgment.
The facts in this case are substantially similar to the facts in Metropolitan Life Ins. Co. v. Wisconsin L. R.Board, ante, p. 464, 297 N.W. 430 (decided herewith), in so far as they are material in the consideration of the legal questions and the conclusions and result reached in that case. In addition to the facts which compelled that result, there are in this case also the circumstances that the proceeding in the circuit court was not instituted by a petition filed by the employer; that the only petition filed was by the International Union of Life Insurance Agents, Locals Nos. 1, 2, and 3, and it did not do so until May 2, 1939, which was but two days before the repeal of ch. 111, Stats. 1937; that there never was any service of that petition on the Wisconsin Labor Relations Board because its members had resigned and no board was then in existence; and that there was no pleading filed or appearance in court on behalf of the board.
For the reasons stated in the Metropolitan Life Ins. Co.Case, supra, the judgment herein must be reversed and the cause remanded with directions to dismiss the proceedings.
By the Court. — Judgment reversed, and cause remanded with directions to dismiss the proceedings. *Page 475 